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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiff,                                        8:17CR312

         vs.
                                                                           ORDER
OANH T. PHAM,

                        Defendant.

         This matter is before the court on defendant's Unopposed Motion to Continue Pretrial
Motions Deadline [37]. For good cause shown, I find that the motion should be granted. The
defendant will be given an approximate 60-day extension. Pretrial motions shall be filed by
October 22, 2018.
         IT IS ORDERED:
         1.     Defendant's Unopposed Motion to Continue Pretrial Motions Deadline [37] is
granted. Pretrial motions shall be filed on or before October 22, 2018.
         2.     The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between August 23, 2018 and October 22, 2018, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason defendant's counsel requires additional time to adequately prepare the case, taking
into consideration due diligence of counsel, and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)
& (B).
         Dated this 24th day of August, 2018.

                                                       BY THE COURT:


                                                       s/ Susan M. Bazis
                                                       United States Magistrate Judge
